Form 751[Order for Payment of Installments]

                                   UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF UTAH

    In re:                                                                     Case No. 25−21693 JTM
              Paul Gilbert Serrano and Amanda Kristin                          Chapter 7
              Serrano
                            Debtor(s).

        ORDER GRANTING APPLICATION TO PAY FILING FEE IN INSTALLMENTS
    The Court, having received the Debtor(s) Application To Pay Filing Fee In Installments according to Federal
    Rule of Bankruptcy Procedure 1006,

    HEREBY ORDERS that the Debtor(s) pay the $338.00 filing fee as follows:

                      Paid to date:       $
                      First installment:  $100.00 Due on or before 4/14/25
                      Second installment: $100.00 Due on or before 5/9/25
                      Final installment   $138.00 Due on or before 5/30/25

    Payment must be received and posted by the Court on or before the due date of each installment payment.
    Payments may be made electronically by the attorney, in person, by phone, or by mail to the U.S. Bankruptcy
    Court at the following address:
                               U.S. Bankruptcy Court − District of Utah
                               350 South Main Street, Rm 301
                               Salt Lake City, UT 84101
                               Tel. (801) 524−6687, Option 1

    Acceptable forms of payment are cash, credit card, money order, or check made payable to U.S. Bankruptcy
    Court. The Court will not accept as payment the personal check of the debtor(s) filing the bankruptcy
    petition.

    THE COURT FURTHER ORDERS that, in accordance with Federal Rule of Bankruptcy Procedure
    1017(b)(1), 11 U.S.C. § 102, 28 U.S.C. § 1930 that unless ordered otherwise by the Court:

             • Failure to timely pay an installment will result in dismissal without further notice or hearing.
             • Until the filing fee is paid in full, the debtor(s) shall not make any additional payment or transfer any
               additional property to an attorney or any other person for services in connection with this case.
             • If the case is dismissed, all unpaid balances remain owing and must be paid within 14 days of
               dismissal.
             • If the debtor(s) fail to pay any installments due under this Order, debtor(s) will be ineligible for an
               Order for Payment of Filing Fees in Installments in any future bankruptcy case.


    Dated and Entered on: April 1, 2025




                                                                United States Bankruptcy Judge (4 − 2)
